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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


Kevin Scott Karsjens, David Leroy Gamble,                  Civil No. 11-3659 (DWF/JJK)
Jr., Kevin John DeVillion, Peter Gerard
Lonergan, James Matthew Noyer, Sr.,
James John Rud, James Allen Barber,
Craig Allen Bolte, Dennis Richard Steiner,
Kaine Joseph Braun, Christopher John
Thuringer, Kenny S. Daywitt, and
Bradley Wayne Foster,

                    Plaintiffs,
                                                        ORDER CERTIFYING CLASS
v.                                                                PURSUANT TO
                                                           FEDERAL RULE 23(b)(2)
Lucinda Jesson, Dennis Benson, Kevin
Moser, Tom Lundquist, Greg Carlson,
and Ann Zimmerman, in their individual
and official capacities,

                    Defendants.


      This matter comes before the Court upon Plaintiffs’ motion for class certification

under Fed. R. Civ. P. 23(b)(2). After considering the submissions of the parties, and

based upon the following, it is the finding of this Court that Plaintiffs’ Amended Motion

for Class Certification (Doc. No. [171]) is GRANTED.

I.    Background

      This matter arises from the alleged lack of treatment and unconstitutional

conditions of confinement that Plaintiffs assert exist at the Minnesota Sex Offender

Program (“MSOP”).
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       Over the last several years, a number of patients civilly committed to the MSOP

have filed federal complaints against various state employees associated with the MSOP.

The pro se complaints generally allege violations of the patients’ civil rights pursuant to

28 U.S.C. § 1983 and other statutes. On January 20, 2012, at the request of the

Minnesota Federal Bar Association’s Pro Se Project, Gustafson Gluek PLLC agreed to

appear in two of these cases, Thompson v. Ludeman, et al., 11-CV-01704 (DWF/JJK) and

Karsjens et al. v. Jesson, et al., 11-CV-0359 (DWF/JJK). The Karsjens case was initially

filed on December 21, 2011 as a proposed class action. The Thompson case was filed on

June 27, 2011; an Amended Complaint was filed on Aug. 2, 2011 [Thompson Doc. No.

9]. On January 11, 2012 Magistrate Judge Keyes issued a Report and Recommendation

in the Thompson case in response to the Defendants’ Motion to Dismiss [Thompson Doc.

No. 39]. The Report and Recommendation found that some of the claims should survive

the motion to dismiss.

       After Gustafson Gluek PLLC appeared in Karsjens and Thompson, on January 25,

2012, Chief Judge Davis issued an Order [Karsjens Doc. No. 142] staying all of the

pro se MSOP cases with the exception of the Thompson and Karsjens actions pending the

resolution of the outstanding Motion for Class Certification filed in the Karsjens case

[Karsjens Doc. No. 24]. On February 6, 2012, Chief Judge Davis issued an Amended

Order [Karsjens Doc. No. 145] applying the stay to additional MSOP cases that were

unintentionally omitted from his previous order. On February 8, 2012, Judge Frank

issued an Order [Karsjens Doc. No. 146] staying the Thompson litigation until further

notice, and setting a deadline for filing an Amended Complaint in the Karsjens action by

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February 29, 2012. The First Amended Complaint in the Karsjens case was filed on

March 15, 2012 [Karsjens Doc. No. 151]. Currently, there are more than 65 cases subject

to the Court’s stay.

       Plaintiffs filed an Amended Complaint on March 15, 2012 alleging: (1) failure to

provide treatment; (2) denial of right to be free from punishment; (3) denial of less

restrictive alternatives; (4) denial of right to be free from inhumane treatment; (5) denial

of right to religious freedom; (6) unreasonable restrictions on speech and association;

(7) unreasonable searches and seizures; (8) the civil commitment statute is

unconstitutional as applied; (9) violation of court ordered treatment; and (10) breach of

contract.

       Currently before the Court is Plaintiffs’ motion to certify a class of: “All patients

currently civilly committed in the Minnesota Sex Offender Program pursuant to Minn.

Stat. § 253B.”

II.    Standard for Class Certification under Rule 23

       1.     Rule 23(a)

       A class action serves to conserve the resources of the court and the parties by

permitting an issue that may affect every class member to be litigated in an economical

fashion. Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 155 (1982). Rule 23 of the

Federal Rules of Civil Procedure governs class certification.

       To be certified as a class, plaintiffs must meet all of the requirements of
       Rule 23(a) and must satisfy one of three subsections of Rule 23(b). The
       Rule 23(a) requirements for class certification are: (1) the putative class is
       so numerous that it makes joinder of all members impracticable;
       (2) questions of law or fact are common to the class; (3) the class

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       representatives’ claims or defenses are typical of the claims or defenses of
       the class; and (4) the representative parties will fairly and adequately
       protect the interests of the class.

In re St. Jude Med., Inc., 425 F.3d 1116, 1119 (8th Cir. 2005) (citing Fed. R. Civ. P.

23(a)) (citations omitted).

       District courts retain broad discretion in determining whether to certify a class.

Gilbert v. City of Little Rock, Ark., 722 F.2d 1390, 1399 (8th Cir. 1983). When

considering a motion for class certification, a court need not ask “whether the plaintiff or

plaintiffs have stated a cause of action or will ultimately prevail on the merits, but rather

whether the requirements of Rule 23 are met.” Beckmann v. CBS, Inc., 192 F.R.D. 608,

613 (D. Minn. 2000) (citing Eisen v. Carlisle & Jaquelin, 417 U.S. 156, 178 (1974)). A

“decision to certify a class is far from a conclusive judgment on the merits of the case.”

In re Zurn Pex Plumbing Prods. Liab. Litig., 644 F.3d 604, 613-614 (8th Cir. 2011)

(citation omitted). At the class certification stage, the only requirement is that the

elements of Rule 23 are met. Bennett v. Nucor Corp., 656 F.3d 802, 814 (8th Cir. 2011).

       The party seeking class certification “carr[ies] the burden of proof regarding

Rule 23’s requirements.” City of Farmington Hills Employees Ret. Sys. v. Wells Fargo

Bank, N.A., Civ. No. 10-4372 (DWF/JJG), 2012 WL 1021679 at *3 (D. Minn. Mar. 27,

2012) (citing In re Workers’ Comp., 130 F.R.D. 99, 103 (D. Minn. 1990)) (citation

omitted). A court may only certify the class if it is “satisfied after a rigorous analysis that

all of the prerequisites are met.” Bishop v. Comm. On Prof’l Ethics, 686 F.2d 1278, 1287

(8th Cir. 1982) (citing Gen. Tel. Co., 457 U.S. at 161). When a question arises as to



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whether certification is appropriate, the court should give the benefit of the doubt to

approving the class. In re Workers’ Comp., 130 F.R.D. at 103 (citation omitted).

              a.     Numerosity

       Rule 23(a) requires that “the class is so numerous that joinder of all members is

impracticable.” Fed. R. Civ. P. 23(a)(1).

       Rule 23(a)’s first requirement is that joinder of all class members is
       impracticable because the class is too numerous. See Fed. R. Civ. P.
       23(a)(1). The Eighth Circuit has not established any rigid rules regarding
       the necessary size of a class and the question of what makes joinder
       impracticable depends on the facts of each case.

Sonmore v. CheckRite Recovery Services, Inc., 206 F.R.D. 257, 261 (D. Minn. 2001).

However, classes have been certified in this District consisting of roughly 540 class

members (see Kimball v. Fredrick J. Hanna & Associates, P.C., 2011 WL 3610129 at *3

(D. Minn. Aug. 15, 2011)) to as few as 250-300 individuals. In re Workers’ Comp., 130

F.R.D. at 104 (citing Bowman v. Nat’l Football League, 402 F. Supp. 754, 756 (D. Minn.

1975)).

       Here, approximately 600 individuals fit the proposed class definition. Those

individuals face an identical process for treatment and potential release. To address each

individual case would be an enormous drain on the resources of the Court and the parties.

Plaintiffs have satisfied Rule 23(a)(1).

              b.     Commonality

       Rule 23(a)(2) requires that “there are questions of law or fact common to the

class.” Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2550-01 (2011) (citing Fed. R.

Civ. P. 23(a)(2)).

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       The Supreme Court recently clarified the commonality requirement, stating:

       Commonality requires the plaintiff to demonstrate that the class members
       have suffered the same injury . . . . [The class members’] claims must
       depend upon a common contention . . . . That common contention,
       moreover, must be of such a nature that it is capable of classwide
       resolution – which means that determination of its truth or falsity will
       resolve an issue that is central to the validity of each one of the claims in
       one stroke.

Id. at 2551 (quotation omitted). Commonality “may be satisfied, for example, where the

question of law linking the class members is substantially related to the resolution of the

litigation even though the individuals are not identically situated.” Paxton v. Union Nat’l

Bank, 688 F.2d 552, 561 (8th Cir. 1982) (internal quotation omitted).

       Here, the class members allege the same injuries–generally, the lack of treatment,

inadequate conditions of confinement, and lack of meaningful opportunity for release.

       The Plaintiffs have identified questions that are common to all Class members:

       a.     Whether Defendants violated Plaintiffs’ and Class members’ Due
              Process rights protected by the Fourteenth Amendment to the United
              States Constitution by failing to provide a realistic opportunity to
              earn their discharge from the MSOP;

       b.     Whether Defendants violated Plaintiffs’ and Class members’ Due
              Process rights protected by the Fourteenth Amendment to the United
              States Constitution by failing to provide a less restrictive
              confinement option as provided for by Minn. Stat. § 253B;

       c.     Whether Defendants violated Plaintiffs’ and Class members’ Due
              Process rights protected by the Fourteenth Amendment to the United
              States Constitution by creating an unnecessarily punitive
              environment;

       d.     Whether Defendants violated Plaintiffs’ and Class members’ rights
              to be free from unreasonable searches and seizures as protected by
              the Fourth Amendment to the United States Constitution;


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       e.     Whether Defendants violated Plaintiffs’ and Class members’ rights
              to freedom of expression, speech, and religious exercise as protected
              by the First Amendment to the United States Constitution;

       f.     Whether Minnesota’s civil commitment laws are unconstitutional as
              applied to Plaintiffs and Class members;

       g.     Whether Defendants violated the court-ordered treatment directive
              for Plaintiffs and Class members; and

       h.     Whether Defendants’ failure to satisfy their obligations to Plaintiffs
              and Class members under the Consent for Participation in Sex
              Offender Treatment constitutes a breach of contract.

       However, “[w]hat matters to class certification . . . is not the raising of common

‘questions’—even in droves—but, rather the capacity of a classwide proceeding to

generate common answers apt to drive the resolution of the litigation.” Wal-Mart Stores,

Inc., 131 S. Ct. at 2551 (citation omitted, emphasis in original). The proposed Class

members allege the same injuries endured by all Class members. As such, resolution of

the Plaintiffs’ claims will necessarily remedy the injuries suffered by all potential Class

members. The injuries alleged are all capable of classwide resolution. Therefore,

Plaintiffs have satisfied Rule 23(a)(2).

              c.     Typicality

       Rule 23(a) also requires that, in order for a class to be certified, the claims or

defenses of the class representative must be typical of the other members of the class.

Fed. R. Civ. P. 23(a)(3). “This requirement is generally considered to be satisfied if the

claims or defenses of the representatives and the members of the class stem from a single

event or are based on the same legal or remedial theory.” Paxton, 688 F.2d at 561-62

(citation omitted). Commonality and typicality tend to merge because both “serve as

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guideposts for determining whether under the particular circumstances maintenance of a

class action is economical and whether the named plaintiff’s claim and the class claims

are so interrelated that the interests of the class members will be fairly and adequately

protected in their absence.” Wal-Mart Stores, Inc., 131 S. Ct. at 2551, n.5 (quoting Gen.

Tel. Co., 457 U.S. at 157-58, n.13).

       Here, Plaintiffs’ claims stem from the same legal theory and seek the same legal

remedy. Therefore, Plaintiffs satisfy Rule 23(a)(3).

              d.      Adequacy

       Rule 23(a)(4) requires plaintiffs to establish that the “representative parties will

fully and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). “In

order to satisfy the adequacy requirement, Plaintiff must show that (1) the representative

and its attorneys are able and willing to prosecute the action competently and vigorously

and (2) each representative’s interests are sufficiently similar to those of the class that it

is unlikely that their goals and viewpoints will diverge.” City of Farmington Hills

Employees Ret. Sys., 2012 WL 1021679 at *4 (citing In re Potash Antitrust Litig., 159

F.R.D. 682, 692 (D. Minn. 1995)). Here, Plaintiffs and their appointed counsel aptly

satisfy this requirement.

       The Court finds that Plaintiffs will vigorously prosecute their claims. The fact that

they filed pro se complaints (and motions for a TRO, appointment of counsel, and class

certification) alone proves the vigor of their commitment to this case. The Plaintiffs have

amply demonstrated that they are willing to work diligently to protect the interests of the

class–particularly in light of the fact that all other similar cases are stayed pending the

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resolution of this matter. Plaintiffs have freely accepted the substantial responsibility of

being the face of this litigation and advancing this case for all MSOP patients. They have

actively engaged in all stages of this case.

         Likewise, proposed Class Counsel have demonstrated their determination to

vigorously prosecute this case. At the request of the Minnesota Federal Bar

Association’s Pro Se Project, Daniel E. Gustafson and the law firm of Gustafson Gluek

PLLC agreed to undertake representation of the Plaintiffs in this purported class action.

Mr. Gustafson has over twenty years of experience in class action litigation, has been

appointed lead counsel or co-lead counsel many times and has represented numerous

classes in litigation during those years. Gustafson Gluek PLLC has already expended

substantial time and resources researching the history of the case, the potential claims of

Plaintiffs and members of the putative Class, and has consulted experts and developed

legal theories to support Plaintiffs’ claims and their demands. Proposed lead counsel also

has experience with the substantive law at issue here by prosecuting claims on behalf of

other MSOP patients. See, e.g., Beaulieu v. Minn. Dep’t of Human Servs., 798 N.W.2d

542 (Minn. Ct. App. 2011) (review granted July 19, 2011). Gustafson Gluek PLLC has

indicated that it will commit the time and resources necessary to litigate this case. As

such, Daniel E. Gustafson and Gustafson Gluek PLLC, as well as the above-named

Plaintiffs, are qualified, able, and willing to competently and vigorously represent the

Class.

         With respect to the second prong, the Court finds Plaintiffs’ interests to be

sufficiently similar to those of the Class that it is unlikely that their goals and viewpoints

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will diverge. The interests of Plaintiffs and the proposed Class members are certainly

aligned in this case: they share the common goal of being housed in a humane,

therapeutic environment while receiving adequate treatment that gives them a realistic

opportunity for release. Although Plaintiffs each have different circumstances that led to

their initial and continued commitment, Plaintiffs’ goals and viewpoints are unlikely to

diverge from those of the remainder of the Class. Because the proposed Class

representatives’ interests are sufficiently similar to those of the Class, and because

Plaintiffs and their counsel are able and willing to competently and vigorously prosecute

this action, the Court concludes that Plaintiffs have satisfied Rule 23(a)(4).

       The Court recognizes that objections have been filed by certain individuals who

fall within the Class definition. The objectors raise concerns that there may be conflicts

between themselves and other Class members because they are choosing not to

participate in treatment. The Court finds that it does not need to resolve these potential

conflicts at this time. The Court finds that the potential Class members have similar

interests, notwithstanding that some potential Class members may seek different

remedies or relief. However, the Court retains jurisdiction over the Class, and if the

Court finds any actual conflicts arise in the future, the Court will reconsider the need for

subclasses. All parties reserve the right to seek the creation of subclasses or a

determination of whether class certification remains appropriate pursuant to Fed R. Civ.

P. 23(c)(1)(C) and (c)(5). The burden remains on the Plaintiffs to show that they

continue to satisfy the requirements of Rule 23.



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          2.     Rule 23(b)

          Even if a plaintiff meets all of the prerequisites set forth in Rule 23(a), he or she

must also satisfy one or more of the conditions set forth under Rule 23(b). Fed. R. Civ.

P. 23(b); see also Gen. Tel. Co., 457 U.S. at 161; Harju v. Olson, 709 F. Supp. 2d 699,

734 (D. Minn. 2010).

          In the present case, at this time, Plaintiffs seek certification only pursuant to Rule

23(b)(2). Certification may be established under Rule 23(b)(2) “if the prerequisites of

subdivision (a) are satisfied, and in addition . . . (2) the party opposing the class has acted

or refused to act on grounds generally applicable to the class, thereby making appropriate

final injunctive relief or corresponding declaratory relief with respect to the class as a

whole . . . .” Fed. R. Civ. P. 23(b)(2).

          In this case, the Court finds that Defendants’ alleged acts and omissions regarding

the Plaintiffs’ claims constitute actions generally applicable to the Class. Furthermore,

although Plaintiffs seek monetary damages as well as injunctive relief, the Plaintiffs do

not currently seek a Rule 23(b)(3) class for damages, and reading the amended complaint

as a whole, it is clear that injunctive relief predominates over any potential monetary

relief.

III.      Conclusion

          For the reasons outlined above, IT IS ORDERED that this case is certified as a

class action under Federal Rule of Civil Procedure 23(b)(2). The Class consists of the

following: “All patients currently civilly committed in the Minnesota Sex Offender

Program pursuant to Minn. Stat. § 253B.”

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      IT IS FURTHER ORDERED that Gustafson Gluek PLLC shall serve as Class

Counsel, and the above-named Plaintiffs shall serve as Class Representatives.

      SO ORDERED.


Dated: July 24, 2012                     s/Donovan W. Frank
                                         DONOVAN W. FRANK
                                         United States District Judge




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